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 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
     Unknown Party named as Jane V., et al.,             No. CV18-0242 PHX DGC
 9
                           Plaintiff,                    ORDER
10
     v.
11
12   Motel 6 Operating           LP,     a   limited
     partnership, et al.,
13
                           Defendants.
14
15            The Court has been advised that this case has settled. Doc. 26.
16            IT IS ORDERED:
17            1.     This matter will, without further Order of this Court, be dismissed with
18   prejudice on August 31, 2018 unless a stipulation to dismiss is filed prior to the dismissal
19   date.
20            2.    All pending hearings and deadlines are vacated.
21            3.     All pending motions are found to be moot.
22            4.    The Clerk is directed to terminate this matter on August 31, 2018 without
23   further leave of Court if a stipulation to dismiss is not filed prior to this date.
24            Dated this 6th day of July, 2018.
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